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                                                                          5                         IN THE UNITED STATES DISTRICT COURT
                                                                          6                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8
                                                                                  IN RE CLOROX CONSUMER                  ) Master File No. 12-00280 SC
                                                                          9       LITIGATION                             )
                                                                                                                         ) ORDER DENYING MOTION FOR CLASS
                                                                         10                                              ) CERTIFICATION
                               For the Northern District of California
United States District Court




                                                                                                                         )
                                                                         11                                              )
                                                                                  This Document Relates To:              )
                                                                         12                                              )
                                                                                       ALL ACTIONS                       )
                                                                         13                                              )
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                                                                                                                         )
                                                                         15
                                                                         16   I.       INTRODUCTION
                                                                         17            Plaintiffs bring this putative class action against Defendant
                                                                         18   The Clorox Company ("Clorox") in connection with its marketing and
                                                                         19   advertising of Fresh Step cat litter.            Plaintiffs now move to
                                                                         20   certify five plaintiff sub-classes, each distinguished by the state
                                                                         21   in which the plaintiff purchased his or her cat litter.                    ECF No. 89
                                                                         22   ("Mot.") (filed under seal) at 7-14.            The motion is fully briefed. 1
                                                                         23   1
                                                                                ECF Nos. 108-4 ("Opp'n") (filed under seal); 115-4 ("Reply")
                                                                         24   (filed under seal); 127 ("Pls. Supp. Brief"); 128-4 ("Defs. Supp.
                                                                              Brief") (filed under seal). Clorox has moved to strike new
                                                                         25   arguments and evidence from Plaintiffs' reply -- mainly regarding
                                                                              ascertainability -- or, in the alternative, for leave to file a
                                                                         26   surreply. ECF No. 116 ("MTS"). Plaintiffs have opposed these
                                                                              motions. ECF No. 118 ("MTS Opp'n"). Because Clorox devoted a
                                                                         27   large section of its brief to ascertainability, it was appropriate
                                                                              for Plaintiffs to respond. Additionally, one of the cases on which
                                                                         28   Clorox primarily relies was decided only one day before Plaintiffs
                                                                              filed their motion. Thus the Court is willing to consider the
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                                                                          1   Pursuant to Civil Local Rule 7-1(b), the Court finds this matter
                                                                          2   appropriate for disposition without oral argument.            For the reasons
                                                                          3   set forth below, Plaintiffs' motion is DENIED.
                                                                          4
                                                                          5 II.     BACKGROUND
                                                                          6         A detailed discussion of this case's background appears in the
                                                                          7   Court's order on Clorox's motion to dismiss.            See In re Clorox
                                                                          8   Consumer Litig., 894 F. Supp. 2d 1224, 1228-31 (N.D. Cal. 2012).
                                                                          9   The basic facts are these: Clorox's Fresh Step cat litter uses
                                                                         10   carbon to eliminate cat litter odors, whereas other cat litter
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                                                                         11   products typically use baking soda.        Clorox's marketing campaign
                                                                         12   allegedly conveys that Fresh Step is more effective at eliminating
                                                                         13   cat odors than products that do not contain carbon.            Plaintiffs,
                                                                         14   consumers of Fresh Step from five different states, allege that
                                                                         15   these statements are false and misleading and are contradicted by
                                                                         16   scientific studies.
                                                                         17         The lead plaintiffs in the case purport to represent five sub-
                                                                         18   classes, each identified by the state in which the plaintiff
                                                                         19   purchased his or her Clorox cat litter.         Specifically, Plaintiffs
                                                                         20   seek certification of sub-classes including all purchasers of Fresh
                                                                         21   Step between October 2010 and the present in the states of
                                                                         22   California, Florida, New Jersey, New York, and Texas.             Mot. at 7-
                                                                         23   14.
                                                                         24   ///
                                                                         25   ///
                                                                         26
                                                                              arguments and new evidence that Plaintiffs offer for the first time
                                                                         27   on reply. However, the Court's lenience should not deprive Clorox
                                                                              of an opportunity to respond. Clorox's motion to strike is DENIED,
                                                                         28   but its alternative motion to file a surreply is GRANTED.



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                                                                          1 III.   LEGAL STANDARD
                                                                          2        "The class action is an exception to the usual rule that
                                                                          3   litigation is conducted by and on behalf of the individual named
                                                                          4   parties only."   Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541,
                                                                          5   2550 (2011) (internal quotations and citations omitted).               "In order
                                                                          6   to justify a departure from that rule, a class representative must
                                                                          7   be part of the class and possess the same interest and suffer the
                                                                          8   same injury as the class members."         Id. (internal quotations and
                                                                          9   citations omitted).     "As a threshold matter, and apart from the
                                                                         10   explicit requirements of Rule 23(a), the party seeking class
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                                                                         11   certification must demonstrate that an identifiable and
                                                                         12   ascertainable class exists."      Wolph v. Acer Am. Corp., 272 F.R.D.
                                                                         13   477, 482 (N.D. Cal. 2011).
                                                                         14        Under Rule 23(a), four prerequisites must be satisfied for
                                                                         15   class certification:
                                                                         16        (1) the class is so numerous that joinder of all members
                                                                         17        is impracticable;

                                                                         18        (2) there are questions of law or fact common to the
                                                                                   class;
                                                                         19
                                                                                   (3) the claims or defenses of the representative parties
                                                                         20
                                                                                   are typical of the claims or defenses of the class; and
                                                                         21
                                                                                   (4) the representative parties will fairly and adequately
                                                                         22        protect the interests of the class.
                                                                         23   Fed. R. Civ. P. 23(a).
                                                                         24        A plaintiff also must satisfy one or more of the separate
                                                                         25   prerequisites set forth in Rule 23(b).        Plaintiffs move for
                                                                         26   certification under Rule 23(b)(3), which requires that common
                                                                         27   questions of law or fact predominate and that the class action is
                                                                         28   superior to other available methods of adjudication.



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                                                                          1         "Rule 23 does not set forth a mere pleading standard.            A
                                                                          2   party seeking class certification must affirmatively
                                                                          3   demonstrate his compliance with the Rule -- that is, he must
                                                                          4   be prepared to prove that there are in fact sufficiently
                                                                          5   numerous parties, common questions of law or fact, etc."
                                                                          6   Dukes, 131 S. Ct. at 2551 (emphasis deleted).           Analysis of
                                                                          7   these factors "generally involves considerations that are
                                                                          8   enmeshed in the factual and legal issues comprising the
                                                                          9   plaintiff's cause of action."      Id. at 2552 (internal
                                                                         10   quotations and citations omitted).         "Nor is there anything
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                                                                         11   unusual about that consequence: The necessity of touching
                                                                         12   aspects of the merits in order to resolve preliminary matters,
                                                                         13   e.g., jurisdiction and venue, is a familiar feature of
                                                                         14   litigation."   Id.
                                                                         15
                                                                         16   IV.   DISCUSSION
                                                                         17         Plaintiffs' motion for class certification is denied because
                                                                         18   the class is not ascertainable and because common questions do not
                                                                         19   predominate, as required by Rule 23(b)(3).          Accordingly, this
                                                                         20   discussion focuses mostly on those issues, but the Court mentions
                                                                         21   the other class certification requirements (at least briefly) for
                                                                         22   the sake of completeness.
                                                                         23         A.   Ascertainability
                                                                         24         "A class definition should be precise, objective, and
                                                                         25   presently ascertainable."     O'Connor v. Boeing N. Am., Inc., 184
                                                                         26   F.R.D. 311, 319 (C.D. Cal. 1998) (internal quotations omitted).
                                                                         27   "While the identity of the class members need not be known at the
                                                                         28   time of certification, class membership must be clearly


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                                                                          1   ascertainable.       The class definition must be sufficiently definite
                                                                          2   so that it is administratively feasible to determine whether a
                                                                          3   particular person is a class member."            Wolph, 272 F.R.D. at 482
                                                                          4   (internal citations omitted).          Though there is a split among
                                                                          5   district courts in the Ninth Circuit on the issue, the undersigned
                                                                          6   has followed the guidance of the Third Circuit in requiring
                                                                          7   plaintiffs to "show, by a preponderance of the evidence, that the
                                                                          8   class is currently and readily ascertainable based on objective
                                                                          9   criteria."       Carrera v. Bayer Corp., 727 F.3d 300, 306 (3d Cir.
                                                                         10   2013) (internal quotation marks omitted).             In a consumer class
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                                                                         11   action, like this one, where Plaintiffs intend to rely on retailer
                                                                         12   records, Plaintiffs must produce sufficient evidence to show that
                                                                         13   such records can be used to identify class members.                 Sethavanish v.
                                                                         14   ZonePerfect Nutrition Co., 12-2907-SC, 2014 WL 580696, at *4-6
                                                                         15   (N.D. Cal. Feb. 13, 2014) (citing Carrera, 727 F.3d at 308-09).
                                                                         16   Affidavits from consumers alone are insufficient to identify
                                                                         17   members of the class.         Carrera, 727 F.3d at 306.
                                                                         18            The problem Plaintiffs face is figuring out exactly who
                                                                         19   purchased Fresh Step during the class period.                In their motion,
                                                                         20   Plaintiffs do not propose any method for making this determination.
                                                                         21   None of the named plaintiffs in this case, for example, kept
                                                                         22   receipts for their purchases of Fresh Step.                 ECF Nos. 108-8
                                                                         23   ("Butler-Furr Depo.") at 39:3-5; 109-2 ("Lenz Depo.") at 14:22-24;
                                                                         24   109-3 ("Luszcz Depo.") at 44:1-13; 109-4 ("Kowalewski Depo.") at
                                                                         25   49:24-50:5; 109-5 ("Doyle Depo.") at 28:16-18. 2               Nor do consumers
                                                                         26   necessarily remember when they bought cat litter, or which sizes,
                                                                         27   2
                                                                                One plaintiff, Ms. Kristin Luszcz, apparently began keeping
                                                                         28   receipts from her Fresh Step purchases after filing this lawsuit.
                                                                              Luszcz Depo. at 44:1-6.


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                                                                          1   types, or even brands of cat litter they purchased.               Butler-Furr
                                                                          2   Depo. at 39:6-10; Kowalewski Depo. at 49:2-10; Doyle Depo. at
                                                                          3   27:22-28:9.    One of the plaintiffs in this case apparently cannot
                                                                          4   even recall whether she bought Fresh Step during the class period;
                                                                          5   Ms. Doyle testified at her deposition that the last time she bought
                                                                          6   Fresh Step was "around 2009."       Doyle Depo. at 36:14-18, 37:17-21,
                                                                          7   54:14-55:21.   But the class includes only persons who purchased
                                                                          8   Fresh Step between October 2010 and the present.              That is precisely
                                                                          9   why affidavits from consumers are insufficient to identify the
                                                                         10   class.
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                                                                         11        In their reply brief, Plaintiffs indicate that the classes
                                                                         12   might be ascertained by obtaining records from Clorox or from the
                                                                         13   retailers who sell Fresh Step.         Reply at 8.        Plaintiffs assert that
                                                                         14   this method of ascertaining the classes will capture "a substantial
                                                                         15   number of Class members."     Id.      To support their assertions,
                                                                         16   Plaintiffs contacted sixteen Fresh Step retailers, which together
                                                                         17   account for about 85 percent of Fresh Step sales nationwide.                 ECF
                                                                         18   No. 115-8 ("Dearman Decl.") (filed under seal) ¶ 15.                Of those
                                                                         19   sixteen retailers, five have not responded or refused to turn over
                                                                         20   any information.    Id. ¶¶ 17-19.       Six of the retailers do not have
                                                                         21   any method for tracking Fresh Step purchases.              Id. ¶¶ 20.     Of the
                                                                         22   five retailers who had relevant information and were willing to
                                                                         23   provide it, few provided sufficient information to help Plaintiffs
                                                                         24   ascertain the class.
                                                                         25        Target is the most helpful for Plaintiffs.              It can identify
                                                                         26   customers who made purchases with "trackable" cards.                Id. Ex. 16
                                                                         27   (filed under seal).     In Target's case, the purchaser is
                                                                         28   identifiable in about 67 percent of (approximately 18 million)


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                                                                          1   Fresh Step transactions.     Dearman Decl. ¶ 21(b), Ex. 16.
                                                                          2   Similarly, PetSmart can identify 2.1 million Fresh Step customers,
                                                                          3   but it is not clear what portion of their Fresh Step sales those
                                                                          4   identifiable customers represent.
                                                                          5        Pet Supermarket, Inc. provided a spreadsheet containing
                                                                          6   information on purchasers of Fresh Step since 2009.            Plaintiffs
                                                                          7   claim that the spreadsheet identifies purchasers for 74,977 units
                                                                          8   of Fresh step between 2010 and present.         Id. ¶21(a), Ex. 16 (filed
                                                                          9   under seal).   Defendants counter, however, that "the vast majority"
                                                                         10   of consumers identified on the spreadsheet are not members of any
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                                                                         11   putative class -- only five are from New Jersey, and only ten are
                                                                         12   from New York.   ECF No. 117-3 ("Surreply") at 3.          Regardless, Pet
                                                                         13   Supermarket can only identify purchasers who used the company's
                                                                         14   loyalty card program.     Dearman Decl. Ex. 15 (filed under seal).
                                                                         15   Those 74,977 units represent only a tiny fraction of Fresh Step
                                                                         16   purchases.
                                                                         17        Wal-Mart and Sam's Club estimate that approximately 4.3
                                                                         18   million individuals may have purchased Fresh Step at their retail
                                                                         19   locations or online.     However, in only about 18 percent of
                                                                         20   transactions are the individual customers identifiable.                Dearman
                                                                         21   Decl. ¶ 21(c).
                                                                         22        Clorox itself does not sell Fresh Step directly to consumers,
                                                                         23   but it does have a "Paw Points" loyalty program that Plaintiffs
                                                                         24   argue might be able to identify some class members.            Reply at 8.
                                                                         25   However, only about five percent of Fresh Step purchases in
                                                                         26   California, New York, New Jersey, Texas, and Florida were
                                                                         27   registered through the Paw Points program.          Even were this number
                                                                         28   larger, the Paw Points program's utility in determining class


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                                                                          1   membership would be limited.      The program does not collect
                                                                          2   information on the date of purchase, and the location it records is
                                                                          3   the customer's address, rather than the location of the store where
                                                                          4   the product was purchased.     Dearman Decl. ¶¶ 25-26.
                                                                          5        Plaintiffs' evidence demonstrates quite clearly that there is
                                                                          6   no administratively feasible method for ascertaining the plaintiff
                                                                          7   classes.   Customers do not remember when they purchased Fresh Step
                                                                          8   cat litter or how much they bought.        Of the retailers who responded
                                                                          9   to Plaintiffs' inquiries, six do not have any way of identifying
                                                                         10   Fresh Step purchasers.     Five can track some customers through
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                                                                         11   loyalty programs or store credit cards, but three of those five can
                                                                         12   identify customers in only a small minority of Fresh Step
                                                                         13   transactions.    Ultimately, only two of the sixteen retailers
                                                                         14   Plaintiffs contacted can help identify a substantial number of
                                                                         15   plaintiffs.     The Court finds that there is no administratively
                                                                         16   feasible method of determining membership for the vast majority of
                                                                         17   potential members of Plaintiffs' proposed sub-classes.             Therefore,
                                                                         18   Plaintiffs' proposed classes are not ascertainable.            On this ground
                                                                         19   alone, their motion is DENIED.
                                                                         20        B.    Rule 23(a) Requirements
                                                                         21        Rule 23(a) requires numerosity, commonality, typicality, and
                                                                         22   adequacy of representation.      See Mazza v. Am. Honda Motor Co.,
                                                                         23   Inc., 666 F.3d 581, 588 (9th Cir. 2012).
                                                                         24              1.     Numerosity
                                                                         25        Federal Rule of Civil Procedure 23(a)(1) requires that the
                                                                         26   proposed classes be "so numerous that joinder of all members is
                                                                         27   impracticable."     Generally, "classes of forty or more are
                                                                         28   considered sufficiently numerous."         Delarosa v. Boiron, Inc., 275



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                                                                          1   F.R.D. 582, 587 (C.D. Cal. 2011).           Plaintiffs demonstrate using
                                                                          2   sales figures that at least tens of thousands of people purchased
                                                                          3   Fresh Step in each of the relevant states.           Defendants do not
                                                                          4   contest these claims.      The Court finds that the numerosity
                                                                          5   requirement of Rule 23 is met.
                                                                          6             2.      Commonality
                                                                          7        Rule 23 also requires that "there be questions of law or fact
                                                                          8   common to the class."      Fed. R. Civ. P. 23(a)(2).        "This does not
                                                                          9   mean merely that [all plaintiffs have] suffered a violation of the
                                                                         10   same provision of law. . . .       Their claims must depend upon a
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                                                                         11   common contention . . . .       That common contention, moreover, must
                                                                         12   be of such a nature that it is capable of classwide resolution --
                                                                         13   which means that determination of its truth or falsity will resolve
                                                                         14   an issue that is central to the validity of each one of the claims
                                                                         15   in one stroke."    Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541,
                                                                         16   2551 (2011).   Nonetheless, "Rule 23(a)(2) has been construed
                                                                         17   permissively."    Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 (9th
                                                                         18   Cir. 1998).
                                                                         19        Plaintiffs argue that there are a number of common questions
                                                                         20   of law and fact that govern the claims of all members of the
                                                                         21   proposed classes.       These questions mostly concern Clorox's claims
                                                                         22   that Fresh Step is superior to other cat litter brands -- such as
                                                                         23   the truthfulness and materiality of those claims, and whether they
                                                                         24   were likely to deceive a reasonable consumer.            Mot. at 18.    In
                                                                         25   response, Clorox argues that those questions are not actually
                                                                         26   common to all members of the proposed classes.            Plaintiffs'
                                                                         27   proposed classes include all purchasers of Fresh Step.              Clorox
                                                                         28   argues that some Fresh Step purchasers likely never saw the


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                                                                          1   allegedly misleading statements, did not rely on them, or did not
                                                                          2   actually find them to be false.        Therefore, Clorox contends,
                                                                          3   questions regarding those claims are not common to the entire
                                                                          4   class.
                                                                          5        The Court need not resolve this issue.             Rule 23(b)(3) includes
                                                                          6   a related, but additional, requirement that these common questions
                                                                          7   predominate over questions affecting only individual class members.
                                                                          8   "The commonality preconditions of Rule 23(a)(2) are less rigorous
                                                                          9   than the companion requirements of Rule 23(b)(3)."              Hanlon, 150
                                                                         10   F.3d at 1019.    Consequently the Court assumes arguendo that at
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                                                                         11   least one of these questions is common to the proposed classes.
                                                                         12   But, as discussed in Part IV.C.1, below, the Court finds that the
                                                                         13   questions Plaintiffs cite as common to the classes do not
                                                                         14   predominate over individual concerns.
                                                                         15              3.    Typicality
                                                                         16        The Ninth Circuit has interpreted the typicality requirement,
                                                                         17   like the commonality requirement, permissively.             Typicality
                                                                         18   requires that the class representatives' claims be "reasonably co-
                                                                         19   extensive with those of absent class members; they need not be
                                                                         20   substantially identical."      Hanlon, 150 F.3d at 1020.          Clorox argues
                                                                         21   that Plaintiffs' claims are not typical because consumers of Fresh
                                                                         22   Step used and experienced the product differently.              For example,
                                                                         23   one plaintiff claims that Fresh Step did not work at all, while
                                                                         24   another says it was as effective as any other brand of cat litter
                                                                         25   (just not better).      See Lenz Depo. at 76:4-19; ECF No. 109-1
                                                                         26   ("Sterritt Depo.") at 131:6-14; see also Opp'n at 39-40.
                                                                         27        The Court finds these arguments unconvincing.              "In determining
                                                                         28   whether typicality is met, the focus should be on the defendants'



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                                                                          1   conduct and plaintiff's legal theory, not the injury caused to the
                                                                          2   plaintiff.    Typicality does not require that all class members
                                                                          3   suffer the same injury as the named class representative."              Simpson
                                                                          4   v. Fireman's Fund Ins. Co., 231 F.R.D. 391, 396 (N.D. Cal. 2005).
                                                                          5   All of the claims that plaintiffs bring here are similar: they all
                                                                          6   allege that they saw Clorox's allegedly misleading statements,
                                                                          7   purchased Fresh Step because of those statements, paid more for
                                                                          8   Fresh Step than they would have for other brands, and did not find
                                                                          9   Fresh Step to work better than other brands.            See Reply at 13.
                                                                         10   Clorox's alleged conduct and Plaintiffs' legal theories are the
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                                                                         11   same, regardless of variations in their individual experiences with
                                                                         12   Fresh Step.
                                                                         13        Of course, these similarities apply only to the extent that
                                                                         14   class members have any claim at all.          Plaintiffs' proposed classes
                                                                         15   are hopelessly overbroad and include many persons who likely never
                                                                         16   saw the allegedly misleading statements.          Those class members
                                                                         17   therefore could not have relied on the alleged misrepresentations
                                                                         18   to purchase Fresh Step.      However, the clearest analytical framework
                                                                         19   for the over breadth of the proposed classes is the predominance
                                                                         20   issue (again, see Part IV.C.1, below).
                                                                         21                4.   Adequacy of Representation
                                                                         22        The Ninth Circuit applies a two-part test to determine the
                                                                         23   adequacy of class representation.           First, the representative
                                                                         24   plaintiffs and their counsel must not have conflicts of interest
                                                                         25   with other class members.      Second, the representative plaintiffs
                                                                         26   and their counsel must prosecute the action vigorously on behalf of
                                                                         27   the class.    Staton v. Boeing Co., 327 F.3d 938, 957 (9th Cir.
                                                                         28   2003).



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                                                                          1        There is no evidence of conflicts of interest between the lead
                                                                          2   plaintiffs, their counsel, and other class members.             To the extent
                                                                          3   that members of the proposed classes have claims against Clorox,
                                                                          4   those claims all arise under the same legal theories and
                                                                          5   substantially similar facts.      Thus, there is no indication that
                                                                          6   their theories of liability or legal arguments will create any sort
                                                                          7   of conflict.
                                                                          8        With regard to the second part of the test, there is again
                                                                          9   nothing to suggest that the lead plaintiffs or their counsel will
                                                                         10   fail to adequately represent the class.          Plaintiffs' attorneys are
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                                                                         11   experienced class action litigators who have prosecuted this
                                                                         12   litigation since it was filed in early 2012.
                                                                         13        Clorox argues in a footnote that Plaintiffs do not adequately
                                                                         14   represent their sub-classes for a variety of reasons including lack
                                                                         15   of typicality, lack of membership in the proposed classes, criminal
                                                                         16   history, and credibility concerns.          Opp'n at 40 n.19.     Because the
                                                                         17   Court denies Plaintiffs' motion on other grounds, it declines to
                                                                         18   examine these specific claims.
                                                                         19        C.     Rule 23(b)(3) Requirements
                                                                         20        In addition to satisfying the requirements of Rule 23(a), a
                                                                         21   class action must fit at least one of the categories defined in
                                                                         22   Rule 23(b).    Plaintiffs assert that this class action qualifies
                                                                         23   under Rule 23(b)(3).     Mot. at 22.        That Rule requires the Court to
                                                                         24   find that "questions of law or fact common to class members
                                                                         25   predominate over any questions affecting only individual members,
                                                                         26   and that a class action is superior to other available methods for
                                                                         27   fairly and efficiently adjudicating controversy."            Fed. R. Civ. P.
                                                                         28   23(b)(3).



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                                                                          1              1.     Predominance
                                                                          2         The burden of demonstrating that common questions predominate
                                                                          3   lies with the party seeking class certification.             Zinser v. Accufix
                                                                          4   Research Inst., Inc., 253 F.3d 1180, 1188 (9th Cir. 2001).
                                                                          5   Plaintiffs argue that questions common to all class members
                                                                          6   predominate here.       These questions mostly concern Clorox's claims
                                                                          7   that Fresh Step is superior to other cat litter brands.                  Mot. at
                                                                          8   18.   Clorox argues that common issues do not predominate for a
                                                                          9   variety of reasons, including that many, or even most, members of
                                                                         10   the proposed classes did not see, much less rely upon, the
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                                                                         11   allegedly misleading superiority claims.           Opp'n at 25-30.        The
                                                                         12   Court finds that these individual questions predominate; Plaintiffs
                                                                         13   cannot demonstrate that enough members of the proposed classes saw
                                                                         14   the allegedly misleading messages.
                                                                         15         This inquiry is complicated by the fact that Plaintiffs have
                                                                         16   amended their complaint, adding new statements they claim were
                                                                         17   misleading to consumers.       Plaintiffs' original complaint only
                                                                         18   identified allegedly misleading statements in Clorox's television
                                                                         19   commercials.     ECF No. 1 ¶¶ 1-8.      Five days after moving to file
                                                                         20   certain portions of their class certification motion under seal,
                                                                         21   Plaintiffs filed their third amended complaint, alleging that some
                                                                         22   variants of Fresh Step packaging also included misleading
                                                                         23   statements.     ECF No. 93 ("TAC") ¶¶ 2-9.       However, the third amended
                                                                         24   complaint still defines the beginning of the class period by the
                                                                         25   airdate of the first television commercials, and the bulk of
                                                                         26   Plaintiffs' allegations still focuses on the commercials.                 Id. ¶¶
                                                                         27   6-9, 33-39.
                                                                         28   ///


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                                                                          1        Clorox argues that the television commercials reached only a
                                                                          2   very limited audience.     The four commercials Plaintiffs identify
                                                                          3   ran for a total of only sixteen months.         Reply at 1.      Additionally,
                                                                          4   in mid-2011, several months before this class action was filed,
                                                                          5   Clorox commissioned an advertising analytics company to assess the
                                                                          6   commercials' effectiveness.      The results indicated that "not enough
                                                                          7   people are seeing, or possibly remembering, the advertising."             See
                                                                          8   ECF No. 108-25, at CL1560 (filed under seal); Opp'n at 9-10.
                                                                          9   Plaintiffs counter that the misleading statements also appear on
                                                                         10   Fresh Step packaging, resulting in a "uniform message to
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                                                                         11   consumers."    Reply at 1.
                                                                         12        That is not the case.      The allegedly misleading statements are
                                                                         13   limited to claims that Fresh Step eliminates odors better than
                                                                         14   other brands because it contains carbon.          The complaint does not
                                                                         15   allege that statements that Fresh Step contains carbon, or even
                                                                         16   that claims that carbon eliminates odor, were misleading.
                                                                         17   According to the complaint, only claims that Fresh Step is superior
                                                                         18   to other brands because of its carbon content is misleading.             This
                                                                         19   so-called "superiority message" appeared only on the back of some
                                                                         20   Fresh Step packaging during the proposed class period.              Plaintiffs
                                                                         21   provide two examples of such packaging; Clorox has submitted ten
                                                                         22   versions of Fresh Step packaging that express no superiority
                                                                         23   claims. 3   Plaintiffs do not produce any evidence as to the
                                                                         24   3
                                                                                Clorox asserts that "nearly ten dozen different packagings were
                                                                         25   used during the proposed class period, almost all of which did not
                                                                              include the carbon superiority language." Opp'n at 13. However,
                                                                         26   Clorox does not cite to the record in support of this proposition.
                                                                              Nonetheless, Plaintiffs do not dispute Clorox's figure. Plaintiffs
                                                                         27   provide only two examples of packaging containing the "superiority
                                                                              message," while Clorox provides ten that do not. See TAC ¶ 5, ECF
                                                                         28   No. 109 ("Lee Decl.") Exs. 39-44, 50-53.



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                                                                          1   percentage of Fresh Step units that included the allegedly
                                                                          2   misleading messages.     Moreover, Clorox has provided evidence that
                                                                          3   only 11 percent of consumers read the back panel of cat litter
                                                                          4   packaging. 4    ECF No. 108-41, at CL5029 (filed under seal).
                                                                          5        The effect that this lack of a consistent message has on
                                                                          6   Plaintiffs' motion varies according to state law.            The consumer
                                                                          7   protection laws in California, Texas, New York, New Jersey, and
                                                                          8   Florida differ significantly in the protection they offer to
                                                                          9   potential class action plaintiffs.          Generally speaking, however,
                                                                         10   two concepts are crucial: exposure and causation.            That is,
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                                                                         11   plaintiffs must be exposed to allegedly misleading statements, and
                                                                         12   those statements must cause them harm.         All states require both,
                                                                         13   though the required proof of causation varies greatly; indeed, some
                                                                         14   states require reliance rather than causation.           For example, New
                                                                         15   Jersey law infers causation in many instances, while Texas
                                                                         16   generally requires proof that each individual plaintiff relied on
                                                                         17   the allegedly misleading statements.         Plaintiffs do not distinguish
                                                                         18   between reliance and exposure, and they offer no individualized
                                                                         19   proof of either.     Though Plaintiffs may be entitled to a class-wide
                                                                         20   presumption of reliance in some states, a plaintiff can only
                                                                         21   reasonably be presumed to rely upon information he actually
                                                                         22   received.      The problem Plaintiffs face is that there is powerful
                                                                         23   evidence that most members of the proposed classes probably never
                                                                         24   4
                                                                                At least, that is how Clorox interprets the survey data. See
                                                                         25   Opp'n at 13. However, the Court's reading of the evidence is that
                                                                              only 11 percent of customers who read the packaging at all read the
                                                                         26   back panel. Only 37 percent of customers read the packaging at
                                                                              all, and only 11 percent of those read the back panel. Thus it
                                                                         27   appears that only about four percent of all cat litter customers
                                                                              read the back panel. Regardless, the percentage of customers who
                                                                         28   read the back panel is very low.



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                                                                          1   saw the allegedly misleading statements.           The television
                                                                          2   commercials ran for only a small part of the class period, and the
                                                                          3   superiority claims appeared in small print on the back of a
                                                                          4   minority of Fresh Step packages.        Regardless of the generosity of
                                                                          5   the various states' causation or reliance requirements, Plaintiffs
                                                                          6   simply cannot demonstrate that the proposed classes were uniformly
                                                                          7   exposed to the allegedly misleading messages.           The Court proceeds
                                                                          8   to analyze each proposed sub-class by state.
                                                                          9                     i.    California
                                                                         10           Under California law, a class-wide presumption of reliance
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                                                                         11   upon an allegedly misleading message may be appropriate in some
                                                                         12   cases.    Plaintiffs urge the Court to "presume[] that all class
                                                                         13   members relied on Clorox's odor superiority misrepresentation."
                                                                         14   Reply at 10.    Bizarrely, Plaintiffs cite a California Supreme Court
                                                                         15   case for the proposition that "[i]t is well-settled in the Ninth
                                                                         16   Circuit that class-wide reliance is presumed where a
                                                                         17   misrepresentation is 'material.'"           Id.   It is possible that
                                                                         18   Plaintiffs meant to argue that California Supreme Court precedent
                                                                         19   governs the application of California law when federal courts apply
                                                                         20   it. 5   Even if that were Plaintiffs' intended argument, they read
                                                                         21   the case they cite for a much broader proposition than it supports.
                                                                         22
                                                                         23   5
                                                                                Plaintiffs also cite a single case from this District that
                                                                         24   followed the California case on a different issue, holding that
                                                                              unnamed class members in an action brought under California's
                                                                         25   Unfair Competition Law need not establish standing. Reply at 10
                                                                              (citing Chavez v. Blue Sky Natural Beverage Co., 268 F.R.D. 365,
                                                                         26   376 (N.D. Cal. 2010)). The issue here is not standing but
                                                                              predominance, and the Ninth Circuit has made clear that they are
                                                                         27   distinct inquiries. See Mazza, 666 F.3d at 595-96 (class had
                                                                              standing despite lack of proof of reliance or injury, but lack of
                                                                         28   evidence of reliance still meant that individual questions
                                                                              predominated).


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                                                                          1         Plaintiffs appear, remarkably, to argue that any materially
                                                                          2   misleading product advertisement is automatically presumed under
                                                                          3   California law to reach and influence all of the product's
                                                                          4   customers.    See Id. (citing In re Tobacco II Cases, 46 Cal. 4th
                                                                          5   298, 326-27 (Cal. 2009)).      The presumption established in Tobacco
                                                                          6   II was much more limited, and it applied only to reliance, not
                                                                          7   exposure.    That is, it may be justified to presume that consumers
                                                                          8   who actually saw a materially misleading advertisement relied upon
                                                                          9   it.   However, Tobacco II does not mean that Plaintiffs are entitled
                                                                         10   to a presumption that every purchaser of Fresh Step during the
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                                                                         11   class period was exposed to the misleading statements.
                                                                         12         Tobacco II involved cigarette advertising, and presumptions of
                                                                         13   exposure and reliance were justified by a "decades-long campaign of
                                                                         14   the tobacco industry to conceal the health risks of its product."
                                                                         15   Tobacco II, 46 Cal. 4th at 327.        Since Tobacco II, both California
                                                                         16   state courts and federal courts in the Ninth Circuit -- when
                                                                         17   applying California law -- have refused to presume so broadly in
                                                                         18   other contexts.    See, e.g., Mazza, 666 F.3d at 595 (presumption of
                                                                         19   reliance not justified under California law where it was likely
                                                                         20   that "many class members were never exposed to the allegedly
                                                                         21   misleading advertisements"); ConAgra Foods, C 12-01633 CRB, 2014 WL
                                                                         22   2702726, at *14 (N.D. Cal. June 13, 2014) (examining treatment of
                                                                         23   Tobacco II in the Ninth Circuit and reaching same conclusion);
                                                                         24   Cohen v. DIRECTV, Inc., 178 Cal. App. 4th 966, 973 (Cal. Ct. App.
                                                                         25   2009) ("An inference of classwide reliance cannot be made where
                                                                         26   there is no showing that representations were made uniformly to all
                                                                         27   members of the class.").
                                                                         28   ///


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                                                                          1         "In the absence of the kind of massive advertising campaign at
                                                                          2   issue in Tobacco II, the relevant class must be defined in such a
                                                                          3   way as to include only members who were exposed to advertising that
                                                                          4   is alleged to be materially misleading."          Mazza, 666 F.3d at 596.
                                                                          5   A sixteen-month television advertising campaign combined with
                                                                          6   messages in small print on the back of a small minority of Fresh
                                                                          7   Step packaging does not even approach the "massive advertising
                                                                          8   campaign" at issue in Tobacco II.           Plaintiffs' proposed class --
                                                                          9   which includes all purchasers of Fresh Step in California over a
                                                                         10   period of almost four years -- is not defined so as to include only
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                                                                         11   members who were exposed to the allegedly misleading material.
                                                                         12   Without any evidence that Clorox included its superiority message
                                                                         13   on a significant portion of Fresh Step products, or that consumers
                                                                         14   actually saw it, Plaintiffs have no basis for their claim that
                                                                         15   Clorox presented a uniform message to its customers.             See also
                                                                         16   ConAgra Foods, 2014 WL 2702726, at *14 (variations in labeling of
                                                                         17   food products precluded cohesion among class members necessary for
                                                                         18   class-wide presumption of reliance).
                                                                         19         The Court finds that Plaintiffs are not entitled to a class-
                                                                         20   wide presumption of reliance.      Therefore, Plaintiffs must define
                                                                         21   their classes to include only persons exposed the allegedly
                                                                         22   misleading advertisement.      Because Plaintiffs fail to do so,
                                                                         23   "common questions of fact do not predominate where an
                                                                         24   individualized case must be made for each member showing reliance."
                                                                         25   Id. at 596.    Plaintiffs' motion to certify the California sub-class
                                                                         26   is DENIED because issues common to all class members do not
                                                                         27   predominate over questions applicable only to individual members.
                                                                         28   ///


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                                                                          1                    ii.    Texas
                                                                          2        Plaintiffs' Texas sub-class brings a claim under the Texas
                                                                          3   Deceptive Trade Practices -- Consumer Protection Act Section
                                                                          4   17.50(a)(1) ("DTP-CPA").        Pls. Supp. Brief. at 6.      The DTP-CTA
                                                                          5   requires a showing of reliance.        Tex. Bus. & Com. Code § 17.50(B).
                                                                          6   Individualized proof is required for Plaintiffs' claim under the
                                                                          7   DTP-CPA.   See Peltier Enters., Inc. v. Hilton, 51 S.W.3d 616, 624
                                                                          8   (Tex. App. 2000) ("This claim requires individualized proof because
                                                                          9   reliance is an essential element of this DTPA claim.").                 By
                                                                         10   requiring individual proof of reliance, the Texas Supreme Court
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                                                                         11   "did not entirely preclude class actions in which reliance was an
                                                                         12   issue, but it did make such cases a near-impossibility."                Fid. &
                                                                         13   Guar. Life Ins. Co. v. Pina, 165 S.W.3d 416, 423 (Tex. App. 2005).
                                                                         14        Plaintiffs' only response is to urge the court to "infer[]
                                                                         15   that no reasonable consumer would pay more for cat litter that said
                                                                         16   it provided superior odor control if it did not, in fact, provide
                                                                         17   that benefit."    Pls. Supp. Brief at 7 (emphasis in original).              That
                                                                         18   sort of inference is inappropriate under Texas law.             See Pina, 165
                                                                         19   S.W.3d at 424 ("Despite the fact that the misrepresentation clearly
                                                                         20   occurred and the purchases were then made by all class members, the
                                                                         21   class also had to show that every purchaser relied on the
                                                                         22   misrepresentation in making the purchase.").            Even if such an
                                                                         23   inference were permitted, Clorox has provided sufficient evidence
                                                                         24   to rebut any claim that the inference would apply uniformly across
                                                                         25   the Texas sub-class.     This strict interpretation of Texas consumer
                                                                         26   protection laws has precluded class certification due to lack of
                                                                         27   predominance in cases analogous to this one.            See, e.g., Henry
                                                                         28   Schein, Inc. v. Stromboe, 102 S.W.3d 675, 694 (Tex. 2002) ("[T]he



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                                                                          1   plaintiffs in this case have failed to show that individual issues
                                                                          2   of reliance do not preclude the necessary finding of
                                                                          3   predominance . . . ."); Pina, S.W.3d at 425 ("[A]ppellees failed to
                                                                          4   show that individualized determinations of reliance would not
                                                                          5   predominate over common questions of law or fact."); Ford Motor Co.
                                                                          6   v. Ocanas, 138 S.W.3d 447, 454 (Tex. App. 2004) ("[A]ppellee failed
                                                                          7   to show that individualized determinations will not predominate
                                                                          8   over common questions of law or fact . . . ."). 6
                                                                          9        The Court finds that Texas law also precludes a presumption of
                                                                         10   reliance in Plaintiffs' favor.         Accordingly, the Court DENIES
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                                                                         11   Plaintiffs' motion as to the Texas sub-class because issues common
                                                                         12   to all class members do not predominate over questions applicable
                                                                         13   only to individual members.
                                                                         14                  iii.     New York
                                                                         15        The New York sub-class brings claims under New York General
                                                                         16   Business Law Sections 349 and 350.           Neither of these claims
                                                                         17   includes a reliance requirement. 7          Even so, New York law requires
                                                                         18   that "[i]n a class action alleging deceptive acts and practices and
                                                                         19   false advertising, the proof must show that each plaintiff was
                                                                         20   reasonably deceived by the defendant's misrepresentations or
                                                                         21   omissions and was injured by reason thereof."            Solomon v. Bell Atl.
                                                                         22
                                                                              6
                                                                         23     These cases applied Texas Rule of Civil Procedure 42(b)(3), which
                                                                              is virtually identical to Federal Rule of Civil Procedure 23(b)(3).
                                                                         24   7
                                                                                Plaintiffs' briefs are contradictory on this issue. Compare Mot.
                                                                         25   at 12 ("A claim under Section 349 does not require a demonstration
                                                                              of reliance, although a claim under Section 350 does.") with Pls.
                                                                         26   Supp. Brief at 4 ("Reliance is not an element of either claim.").
                                                                              According to New York law, the latter statement is accurate. See
                                                                         27   Koch v. Acker, Merrall & Condit Co., 18 N.Y.3d 940, 941 (N.Y. 2012)
                                                                              ("To the extent that the Appellate Division order imposed a
                                                                         28   reliance requirement on General Business Law §§ 349 and 350 claims,
                                                                              it was error.").


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                                                                          1   Corp., 9 A.D.3d 49, 52 (N.Y. App. Div. 2004).           Plaintiffs argue
                                                                          2   that "causation does not require individualized proof and can be
                                                                          3   resolved on a classwide basis where, as here, a misrepresentation
                                                                          4   is made uniformly to the class."        Mot. at 13.     Once again,
                                                                          5   Plaintiffs are stymied by the fact that the alleged
                                                                          6   misrepresentations were not made uniformly to the class.
                                                                          7        Solomon illustrates this problem as it applies to cases, like
                                                                          8   this one, where allegedly misleading statements did not necessarily
                                                                          9   reach every member of a putative class.         The Solomon court held
                                                                         10   that "class certification is not appropriate where the plaintiffs
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                                                                         11   do not point to any specific advertisement or public pronouncement
                                                                         12   by the [defendants] which was undoubtedly seen by all class
                                                                         13   members."   Solomon, 9 A.D.3d at 53 (citing Small v. Lorillard
                                                                         14   Tobacco Co., Inc., 252 A.D.2d 1, 9 (N.Y. App. Div. 1998), aff'd, 94
                                                                         15   N.Y.2d 43 (N.Y. 1999)).      Federal courts have followed these New
                                                                         16   York cases in denying class certification:
                                                                         17
                                                                                   Plaintiffs' proposed class makes no attempt to limit the
                                                                         18        class   to   persons   who   saw   or   heard    a   common
                                                                                   misrepresentation . . . .   Distinguishing    between   the
                                                                         19        different representations made to putative class members
                                                                                   would require individualized inquiries not suitable for
                                                                         20        class litigation. Accordingly, this element supports
                                                                                   denying class certification.
                                                                         21
                                                                         22   In re Ford Motor Co. E-350 Van Prods. Liab. Litig. (No. II), CIV.A.
                                                                         23   03-4558, 2012 WL 379944, at *14 (D.N.J. Feb. 6, 2012).              Like the
                                                                         24   plaintiffs in Ford, Solomon, and Small, Plaintiffs in this case
                                                                         25   failed to limit their proposed classes to persons who saw or heard
                                                                         26   a common misrepresentation.      As in Solomon, "the individual
                                                                         27   plaintiffs did not all see the same advertisements; some saw no
                                                                         28   advertisements at all."      Solomon, 9 A.D.3d at 53.        Nor do



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                                                                          1   Plaintiffs point to any specific advertisement that was seen by all
                                                                          2   class members.    Rather, Plaintiffs point to a series of television
                                                                          3   commercials and statements that appeared on a small minority of
                                                                          4   Fresh Step packaging.     Plaintiffs have produced no evidence
                                                                          5   whatsoever as to which or how many members of their proposed
                                                                          6   classes ever saw these misrepresentations.          Nor do they attempt to
                                                                          7   limit any of their proposed classes to persons who saw these
                                                                          8   alleged misrepresentations.      As a result, common questions do not
                                                                          9   predominate over individual issues under New York law, either.
                                                                         10   Plaintiffs' motion to certify the New York sub-class is therefore
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                                                                         11   DENIED.
                                                                         12                    iv.    New Jersey
                                                                         13        The parties agree that New Jersey imposes an "ascertainable
                                                                         14   loss" requirement, rather than a reliance element through its
                                                                         15   Consumer Fraud Act ("NJCFA").        Pls. Supp. Brief at 5-6; Defs. Supp.
                                                                         16   Brief at 8-9; see also Elias v. Ungar's Food Prods., Inc., 252
                                                                         17   F.R.D. 233, 239 (D.N.J. 2008) ("In place of the traditional
                                                                         18   reliance element of fraud and misrepresentation, we have required
                                                                         19   that plaintiffs demonstrate that they have sustained an
                                                                         20   ascertainable loss.") (quoting Int'l Union of Operating Eng'rs
                                                                         21   Local No. 68 Welfare Fund v. Merck & Co., Inc., 192 N.J. 372, 391
                                                                         22   (N.J. 2007)).    Thus stating a claim under the NJCFA requires
                                                                         23   alleging three elements: (1) unlawful conduct; (2) an ascertainable
                                                                         24   loss; and (3) a causal relationship between the defendants'
                                                                         25   unlawful conduct and the plaintiff's ascertainable loss.                Merck,
                                                                         26   192 N.J. at 389.
                                                                         27        To establish the required causal relationship, the New Jersey
                                                                         28   plaintiffs rely upon "a presumption of reliance and/or causation"



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                                                                          1   developed in Varacallo v. Massachusetts Mutual Life Insurance Co.,
                                                                          2   752 A.2d 807, 817-18 (N.J. Super. Ct. App. Div. 2000).              Varacallo
                                                                          3   specifically dealt with that presumption in situations where
                                                                          4   "omissions of material fact are common to the class."             Id. at 817.
                                                                          5   However, at least one federal court has extended the Varacallo
                                                                          6   presumption to affirmative misrepresentations.           See Elias, 252
                                                                          7   F.R.D. at 238.    Even assuming that the Elias court correctly
                                                                          8   extended Varacallo, Plaintiffs in this case are still not entitled
                                                                          9   to that presumption.     In Elias, the court wrote that the allegedly
                                                                         10   misleading "statements to each purchaser are finite and readily
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                                                                         11   identifiable."    Id.   Additionally, the Elias court found that
                                                                         12   "defendants' conduct subjected each purchaser to the same wrongful
                                                                         13   course of conduct and thereby produced the same claims, supported
                                                                         14   by the same evidence and responded to by defendants with the same
                                                                         15   defenses."    Id. at 238-39.
                                                                         16        The record simply does not support such a finding here.                The
                                                                         17   alleged misrepresentations were made in television advertisements
                                                                         18   that ran for about 16 months of the nearly four-year class period
                                                                         19   and in small print on the back of a minority of Fresh Step
                                                                         20   packagings.    It is likely that the majority of members of the New
                                                                         21   Jersey sub-class never saw the allegedly misleading claims.
                                                                         22   Consequently, Clorox's statements to each purchaser are not readily
                                                                         23   identifiable; Clorox's conduct did not subject each purchaser to
                                                                         24   the same wrongful conduct; and individualized evidence will be
                                                                         25   required to support the New Jersey plaintiffs' claims.              Those
                                                                         26   individual questions preclude a finding that questions common to
                                                                         27   the New Jersey sub-class predominate over individualized issues.
                                                                         28   Plaintiffs' motion to certify the New Jersey sub-class is DENIED.



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                                                                          1                    v.     Florida
                                                                          2        Florida consumer protection law does not require reliance but
                                                                          3   does require causation.      The Florida Deceptive and Unfair Trade
                                                                          4   Practices Act ("FDUTPA") permits a person "who has suffered a loss
                                                                          5   as a result of a violation of this part" to recover actual damages.
                                                                          6   Fla. Stat. § 501.211(2) (emphasis added).          One key Florida case on
                                                                          7   the reliance issue is Davis v. Powertel, Inc., 776 So. 2d 971, 973
                                                                          8   (Fla. Dist. Ct. App. 2000) ("A party asserting a deceptive trade
                                                                          9   practice claim need not show actual reliance on the representation
                                                                         10   or omission at issue.").       However, the Powertel decision has since
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                                                                         11   been criticized for its failure to analyze the causation element.
                                                                         12   See Pop's Pancakes, Inc. v. NuCO2, Inc., 251 F.R.D. 677, 686-87
                                                                         13   (S.D. Fla. 2008) (collecting cases).        Equally important, the
                                                                         14   Powertel court has since clarified that "[i]t does not follow,
                                                                         15   however, that because class litigation is possible in a statutory
                                                                         16   action for a deceptive trade practice, that it will always be
                                                                         17   appropriate. . . . We did not suggest otherwise in Powertel."
                                                                         18   Egwuatu v. S. Lubes, Inc., 976 So. 2d 50, 53 (Fla. Dist. Ct. App.
                                                                         19   2008).   In Egwatu, the court concluded "that class litigation would
                                                                         20   be impractical because there would be many differences in the facts
                                                                         21   supporting the claims of the individual plaintiffs. This conclusion
                                                                         22   was based on the fact that the defendants have employed a variety
                                                                         23   of methods over the years to inform customers [of the alleged
                                                                         24   misrepresentation]."     Id.
                                                                         25        Similarly, Plaintiffs allege here that Clorox employed a
                                                                         26   variety of methods over the years -- three different television
                                                                         27   commercials and two varieties of Fresh Step packaging -- to claim
                                                                         28   that Fresh Step is superior to other brands.            The Court finds that,



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                                                                          1   as in Egwatu, there will be "many differences in the facts
                                                                          2   supporting the claims of the individual plaintiffs."             Id.    Many
                                                                          3   members of the proposed Florida sub-class never saw the alleged
                                                                          4   misrepresentations.     Determining whether any individual member of
                                                                          5   the Florida sub-class has a claim against Clorox will therefore
                                                                          6   depend upon whether that person actually saw the misrepresentation.
                                                                          7   If a class member never saw Clorox's superiority message, it is
                                                                          8   impossible that he suffered damages as a result of Clorox's
                                                                          9   conduct.   The Court finds that questions common to the Florida sub-
                                                                         10   class do not predominate over such individualized issues.
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                                                                         11   Accordingly, Plaintiffs' motion to certify the Florida sub-class is
                                                                         12   DENIED.
                                                                         13              2.    Measurement of Damages on a Class-Wide Basis
                                                                         14        The Supreme Court has interpreted Rule 23(b)(3) predominance
                                                                         15   to include a requirement that plaintiffs establish "that damages
                                                                         16   are capable of measurement on a classwide basis."            Comcast Corp. v.
                                                                         17   Behrend, 133 S. Ct. 1426 (2013).        The parties disagree as to
                                                                         18   whether Plaintiffs had made that showing.          Plaintiffs have
                                                                         19   submitted two expert reports, one of which includes a class-wide
                                                                         20   damages measurement.     See Mot. at 24-25; ECF No. 89-6 ("Preston
                                                                         21   Rpt.") (filed under seal).      Clorox has moved to exclude both of
                                                                         22   Plaintiffs' expert reports on the grounds that the experts used
                                                                         23   unreliable methods.     ECF Nos. 114 (redacted version), 108-6
                                                                         24   (unredacted version filed under seal).         Because the Court denies
                                                                         25   Plaintiffs' motion on other grounds, the thorough examination of
                                                                         26   the experts' reports required to resolve this objection is
                                                                         27   unnecessary.    Clorox's motion to exclude the expert testimony is
                                                                         28   therefore DENIED as moot.



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                                                                          1              3.    Superiority of Class Action
                                                                          2        The final Rule 23(b)(3) requirement is that a class action is
                                                                          3   superior to other available methods for fairly and effectively
                                                                          4   adjudicating the controversy.      Relevant to determining the
                                                                          5   superiority of the class action are: (a) the class members'
                                                                          6   interests in individually controlling the prosecution or defense of
                                                                          7   separate actions; (b) the extent and nature of any litigation
                                                                          8   concerning the controversy already begun by or against class
                                                                          9   members; (c) the desirability or undesirability of concentrating
                                                                         10   the litigation of the claims in the particular forum; and (d) the
                               For the Northern District of California
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                                                                         11   likely difficulties in managing a class action.            Fed. R. Civ. P.
                                                                         12   23; see also ConAgra Foods, 2014 WL 2702726, at *23-24.
                                                                         13        The problems Plaintiffs face with ascertainability and
                                                                         14   predominance are both pertinent to superiority as well.                 The
                                                                         15   immense difficulty of determining class membership will make
                                                                         16   managing this case as a class action extremely complicated.                   That
                                                                         17   alone may be sufficient to preclude a finding that a class action
                                                                         18   is the superior method for resolving this case.            See ConAgra Foods,
                                                                         19   2014 WL 2702726, at *24 (finding it "not at all clear" that a class
                                                                         20   action was superior because "Plaintiffs have not proposed an
                                                                         21   adequate means of identifying each class member, which products
                                                                         22   each class member purchased, and how many products each class
                                                                         23   member purchased").     Additionally, the variations in Clorox's Fresh
                                                                         24   Step packaging during the proposed class period, and the fact that
                                                                         25   most class members likely never saw the allegedly misleading
                                                                         26   statements at all, create individualized questions that render a
                                                                         27   class action unmanageable.      See id. (variations in product labels
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                                                                          1   during the proposed class period were relevant to manageability of
                                                                          2   class action).
                                                                          3   V.   CONCLUSION
                                                                          4        For the reasons set forth above, Plaintiffs' motion for class
                                                                          5   certification is DENIED with respect to all five proposed sub-
                                                                          6   classes.
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                                                                          8        IT IS SO ORDERED.
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                                                                         10        Dated:    July 28, 2014
                               For the Northern District of California
United States District Court




                                                                         11                                          UNITED STATES DISTRICT JUDGE
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